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United States Bankruptcy Court
District of Minnesota

Eric Nelson Morud
Inte Martina Mary Kelly Case No.

Debtor(s) Chapter 7

STATEMENT UNDER PENALTY OF PERJURY RE:
PAYMENT ADVICES DUE PURSUANT TO 11 U.S.C. § 521(a)(1)(B\(iv)

[X] Debtor has attached to this statement copies of all payment advices or other evidence of payment received within 60
days before the date of the filing of the petition from any employer.

["] Debtor has not filed copies of payment advices or other evidence of payment received within 60 days before the date
of the filing of the petition from any employer because:

Debtor was not employed during the 60 days preceding the filing of the petition;

UJ

[_] Debtor was employed for only a portion of the 60 days preceding the filing of the petition. Please specify period
during which debtor was unemployed;

['] Debtor was self-employed during the 60 days preceding the filing of the petition;

CL]

Debtor received only unemployment, veteran's benefits, social security, disability or other retirement income
during the 60 days preceding the filing of the petition; or

['] Other (please explain):

I declare under penalty of oT have read thig Statement and it is true to the best of my knowledge, information
<a

and belief. ~
/ Date: October 21, 2011

Signature of Debtor: Le a -
mm 7 x

ROR AG FRG RS 3 Aa aC A oe og oe eis ae os Ra 2 ae oe ofc a of fe oe oe RE ee HE oe a oe He fe fe ee He fe Ra fe HE a ae ae Oe fe oft fe

Joint Debtor has attached to this statement copies of all payment advices or other evidence of payment received
within 60 days before the date of the filing of the petition from any employer.

["] Joint Debtor has not filed copies of payment advices or other evidence of payment received within 60 days before
the date of the filing of the petition from any employer because:

[1] Joint Debtor was not employed during the 60 days preceding the filing of the petition;

[-] Joint Debtor was employed for only a portion of the 60 days preceding the filing of the petition. Please specify
period during which debtor was unemployed;

[] Joint Debtor was self-employed during the 60 days preceding the filing of the petition;

[} Joint Debtor received only unemployment, veteran's benefits, social security, disability or other retirement
income during the 60 days preceding the filing of the petition; or

[_] Other (please explain):

I declare under penalty of perjury that I have read this Statement and it is true to the best of my knowledge, information
and belief.

Signature of Joint Debtor: A, ibe a blly Date: October 21, 2011
t

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TruNorth Painting, Ine
3853 Cinnabar Drive
Eagan, MN 55122
Eric N. Morud
3853 Cinnabar Drive
Fagan, MN 55122
Direct Deposit
Employee Pay Stub Check number: - Pay Period: 09/26/2011 - 10/09/2041 Pay Date: 10/14/2011
Employee Status (Fed/State} Aliowances/Extra
Eric N. Morud, 3853 Cinnabar Drive, Eagan, MN 65122 Marred/Married Fed-2/0/MN-2
Earnings and Hours Qty Rate Current YTD Amount Direct Deposit Amount
Salary Management 4,900.00 7,000.00 = Checking - ******7375 876.50
Salary Management (old) 11,000.00 M
1,000.00 12,000,090  £eme
Taxes Current YTD Amount Direct Deposit
Federal Withholding -41.00 -441,35
Social Security Employee -42.00 -504.00
Medicare Employee -14.50 -174,00
MN - Wilhholding -26.00 -260.27
-123,50 -1,349,.62
876.60 10,650.38

Net Pay

TruNorth Painting, inc, 3853 Cinnabar Drive, Eagan, MN 55122 661-321-3777

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TruNorth Painting, inc.
3853 Cinnabar Drive
Eagan MN 55122

Y Paystub Detail

_ PAY DATE: 09/30/2011
NET PAY: $876.32

Eric N. Morud
3853 Cinnabar Drive
Eagan MN 85122

EMPLOYER PAY PERIOD
TruNorth Painting, Inc. Pericd Beginning: 09/11/2011
3853 Cinnabar Drive Period Ending: 09/24/2011
Eagan MN 55122 Pay Date: 09/30/2011
EMPLOYEE
Eric N. Morud
3853 Cinnabar Drive
Eagan MN 55122
NET PAY: $876.32
Acctif,...7375: $876.32
MEMO:
PAY Hours Rate Current YTD DEDUCTIONS Current YTD
Salary - - 1006.00 14000.00
TAXES Current YTD
Federal income Tax 41.15 370.35 SUMMARY Current YiD
Social Security 42.00 462.00 | Totat Pay $1,000.00 $11,000.00
Medicare 14.50 1659.50
MN Income Tax 26.03 234.97 ‘| faxes $123.68 $1,226.12
. ' Deductions $0.00 $0.00

Net Pay $876.32

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TruNorth Painting, Ine.
3853 Cinnabar Drive
Eagan MN 55122

Paystub Detail
PAY DATE: 09/16/2011
NET PAY: $876.32

Eric N. Morud
3853 Cinnabar Drive
Fagan MN 55122

EMPLOYER PAY PERIOD

TruNorth Painting, Inc. Period Beginning: 08/28/2011
3853 Cinnabar Drive Period Ending: 09/40/2011
Eagan MN 55122 Pay Date: 09/16/2014
EMPLOYEE

Eric N. Morud

3853 Cinnabar Drive
Eagan MN 55122

NET PAY: $876.32
Acct#....7375: $876.32
MEMO:
PAY Hours Rate Current YTD DEDUCTIONS Current YTD
Salary - - 1000.00 10000.00
TAXES Current YTD
Federal Income Tax 41.45 329,20 SUMMARY Current YTD
Social Security 42.00 420.00 Total Pay $1,000.00 $10,000.00
Medicare 14.50 145,00
MN income Tax 26.03 208.24 _~—*{ Faxes $128.68 $1,102.44
. ’ Deductions $0.00 $0.00

Net Pay $876.32

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TruNorth Painting, Inc.

3853 Cinnabar Drive
Eagan MN 55122

Paystub Detail
PAY DATE: 09/02/2011
NET PAY: $876.32

Eric N. Morud
3853 Cinnabar Drive
Eagan MN 55122

EMPLOYER PAY PERIOD

TruNorh Painting, Inc. Perlod Beginning: 08/14/2011
3853 Cinnabar Drive Perlod Ending: 08/27/2011
Fagan MN 55422 Pay Date: 09/02/2011
EMPLOYEE

Eric N. Morud

3853 Cinnabar Drive
Eagan MN 55122

NET PAY: $876.32
Acct#....7375: $876.32
MEMO:
PAY Hours Rate Current YTD DEDUCTIONS Current YTD
Salary - - 1000.00 9000.00
TAXES Current YTD
Federal income Tax 41.15 288.05 SUMMARY Current YTD
Sociai Security 42,00 378.06 Total Pay $4,000.00 $9,000.00
Medicare 14.50 130.50
MN income Tax 26.03 182.24 Taxes $123.68 $978.76
. ‘ Deductions $0.00 $0.00

Net Pay $876.32

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TruNorth Painting, Inc.
3853 Cinnabar Drive
Fagan MN 55122

Paystub Detail
PAY DATE: 08/19/2011
NET PAY: $876.32

Eric N. Morud
3853 Cinnabar Drive
Eagan MN 55122

EMPLOYER PAY PERIOD

TruNorth Painting, Inc. Period Beginning: 07/31/2011
3853 Cinnabar Drive Period Ending: 08/13/2011
Fagan MN 55122 Pay Date: 08/19/2011
EMPLOYEE

Eric N. Morud

3853 Cinnabar Drive
Eagan MN 55122

NET PAY: $876.32
Acct#.,..7375: $876.32
MEMO:
PAY Hours Rate Current YTD DEDUCTIONS Current YTD
Salary . - 1000.00 8000.00
TAXES Current YTD
Federal income Tax 44.15 246.90 SUMMARY Current YTD
Social Security 42.00 336.00 Total Pay $1,000.00 $8,000,00
Medicare 14.50 116.60
MN income Tax 26.03 156.18 | faxes $123.68 $855.08
, : Deductions $0.00 $0.00

Net Pay $876.32

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Quick Links
Home

Employee
Company
Maintenance

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OCU

Home * Employee Pay History » Check

History Paycheck

Be

Chock Details
‘ Reg Check Paid on 10/14/2044 (or period ending 10/15/2044
?

Martina Kelly Voucher: 40622
$853 Cinnabar Drive
Eagan, MN 55422

Marnhids
Code Description Hours : Amount!
REG Regular . O.75 18.75
SAL Salary 4 66 866.00
36.44 686,75
Deductions
Code _ Description / Amount |
pEPC a Dependant Care - BO 208.33
ANS aS
Taxes
Gode —_—_ Description Taxable, Amount
MED Medicare 4/8 42 6.93
os OASDI 478.42 20,09
PPT Pederatlnconme ‘Tas ATEAD 14,93
ha Minnesota SITVW ATR AD 12.00
3.95
EMiplover Taxes
Code Description Taxable |
MEL.F Medicare - Employer 478.42
S5-R OASDI - Employer 478.42
MNAST Mintiesola Federal Loan Assessment 586,75

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MANDY Workiorce Enhancement Pee 686.75
MASE Minnesota SLI 686,75
Direct Danosits
Transit : Account Account Type Amount
Tg A581 4 SaViligs 700.06
AR 2 SOSA? Checking Bad A?
APA AT

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Quick Links Home > Employee & Pay History » Check
Home
Employee ‘N
Company Note
Maintenance > + Report request submitted
The report request has been submitted and is currently
fr “~ processing. The report status can be monitored in a
Na a separate popup window that will appear automatically,

\ J

J History Paycheck

Check Details
Reg Check Paid on 9/30/2011 for period ending 9/30/2011

Martina Kelly Voucher: 10505
3853 Cinnabar Drive Net Pay Net Check
Eagan, MN 55122 557.79 0.00
Earnings
code ae lDescrption ua con Hours| co Amount
REG | Regular 7.80) 187.50.
PERS | Personal Day ! 1.00 19.27]
SAL | Salary 33.66) 648,73,
42.16 865.50
Deductions
Code [Description  ==———s| SS Amount.
DEPC | Dependant Care 208.33.
208.33
Taxes
Code | Description —_ | __Taxable| __ Amount|
MED | Medicare | 647.17) 9.39,
Ss | OASDI | 647.47 27.18|
FITW | Federal Income Tax | 647.17) 31.80,

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MN | Minnesota SITW 647.17 21.00/
89.38
Employer Taxes
[Code | Description — : | Taxable]
MED-R Medicare - Employer 647.17
55-R OASDI - Employer 647.17
MINNAST Minnesota Federal Loan Assessment 855.50)
MNDW Workforce Enhancement Fee 855.50
MNSUI Minnesota SU] 855.50:
Direct Deposits
Transit [Account | Account Type «| ~—S Amount
46110 | "5811 | Savings | 100.00
40922 (72547 | Checking | 457.79
557.79
¢ Print Check Stub )
Nu a
Payentry Version: 2.4.3.6
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payentry.com https:/Avivw 1 payentry.com/ee/ee/PayHist/Detail.asp
Quick Links | Home » Employee > Pay History » Check
Home
Employee ‘
Company | Note
Maintenance > ¢ Report request submitted
The report request has been submitted and is currently
rf % processing. The report status can be monitored in a
Ni 4 separate popup window that will appear automatically.
Nw 2
~ 4
History Paycheck
Check Details
Reg Check Paid on 9/15/2011 for period ending 9/15/2011
Martina Kelly Voucher: 10388
3853 Cinnabar Drive Net Pay Net Check
Eagan, MN 55122 319.60 0.00
Earnings
Code + Description . | a hours - . Amount
REG ! Regular 2.61 41.76
SAL 7 Salary | 38.09 581.16
REG ' Regular 0.39 6.24
SAL ‘Salary | 5.69 86.84
46.78 716.00
Deductions
Code '| Description Amount
DEN Dental | 9.18
DEPC Dependant Care | 208,33
HEAL Health Insurance 152.70
370.24
Taxes
[Code [Description =| Taxable! = Amount

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MED | Medicare | 345.79 5.01)
$s | OASDI | 345.79 14.82
FITW | Federal Income Tax i 345.79) 1.66.
MN Minnesota SIFW | 345,79 5,00,
26.19

Employer Taxes
Code Description Taxable
MED-R Medicare - Employer 345.79
SS-R OASDI - Employer 345,79
MNAST Minnesota Federal Loan Assessment 716.06
MNDW Workforce Enhancement Fee 716.06
MNSUI Minnesota SUI 716.00;

Direct Deposits
Transit — | Account a | Account Type . a Amount|
“e110 | M5811 | Savings | 100.00)
+9922 +2547 | Checking | 219.60)
319.60

( Print Check Stub }

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Home & Employee b Pay History » Check

“4
tory Paycheck

Check Details

Reg Check Paid on 8/31/2011 for period ending 8/31/2011

Martina Kelly Voucher: 10273
3853 Cinnabar Drive Net Pay Net Check
Eagan, MN 55122 367.58 0.00
Earnings
Code |Description = | Hoursf Amount|
SAL | Salary 38,09 676.51)
SAL | Salary 5.69 | 100.94
43,78 776.48
Deductions
Code [Description = {Amount
DEN Dental | 9.18.
DEPC Dependant Care | 208.33
HEAL Health Insurance | 152.70)
370.21
Taxes
an boscription noe | capil amount
MED Medicare | 406.24 5.89
ss OASDI | 406.24 17.06
FITW | Federal income Tax | 406.24 7.71:
MN Minnesota SITW | 406.24 8.00
38.66
Employer Taxes
code [Description Be ite roxabe
MED-R : Medicare - Employer 406.24.

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SS-R | OASDI - Employer 406.24
MNAST Minnesota Federal Loan Assessment 776.45,
MNDW Workforce Enhancement Fee 776.45 |
MNSUI | Minnesota SUI 776.45.
Direct Deposits
| Transit | Account | Account Type a | Amount|
#68110 | "5844 | Savings | 100.00;
“19992 2547 Checking | 267.58,
367,58

( Print Check Stub )

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Quick Links
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Company

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https://www | payentry.com/ee/ee/PayHist/Detail .asp?paychec...

Home > Employee > Pay History > Check

\
History Paycheck

Check Details
Reg Check Paid on 8/15/2011 for period ending 8/15/2011

Martina Kelly Voucher: 10157
3853 Cinnabar Drive Net Pay Net Check
Eagan, MN 55122 A27 44 0.00
Earnings
Code [Description == | Hours| Amount|
SAL | Salary | 38.09, 675.51;
SAL | Salary | 5.69) 100.94|
43.78 776.45
Deductions
[Code _| Description — E amount
EXRE | Expense Reimbursement -69.83
DEN | Dental ! 9.18
DEPC Dependant Care | 208.33:
HEAL | Health insurance | 152.70
310.38
Taxes
code ~ | Description FF Taxablel = Amount
MED Medicare 406.24 5,89!
Ss OASDI 406.24 17.06
FITW _| Federal Income Tax 406.24 7.71
MN Minnesota SIFW i 406,24 8.00
38.66

Employer Taxes
iCode Description Taxable |

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MED-R Medicare - Employer 406,24
SS-R OASDI - Employer 406.24
MNAST = Minnesota Federal Loan Assessment 776.45
MNDW Workforce Enhancement Fee 776.45
MNSUI —_ Minnesota SUI 776.45
Direct Deposits
Transit | Account, | Account Type” : | Amount!
46110 #5814 | Savings | 100.00
*40922 *OBAT Checking | 327.41
427.41

( Print Check Stub }

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SAINT THOMAS ACADEMY
949 Mendota Heights Road
Mendota Heights, MN $5120

US Bank

St. Pavl, MN Date

10/14/2011

PAY SEVEN HUNDRED TWENTY FIVE DOLLARS and 83 CENTS

To the Martina M. Kelly

order of 3853 Cinnabar Dr. Bank Account Number

Bank Routing No,

Amount

$725.83

Deposit Amount

Eagan, MN 55122 097000022 104779962547 725.83
DIRECT DEPOSIT ADVICE NON-NEGOTIABLE
662 Kelly, M. M. 1292 10/14/2011
Employee No. Department Employee Name Sociai Security Na. Period End
EARNINGS Hrs/Units Current Amount Year to Dale DEDUCTIONS Current Amount Year to Date
Regular Pay 86,666 928.71 13141.55 | FEDERAL INCOME 53.72 877.42
FEDERAL MEDICAR 13.10 189.44
FEDERAL SOCIAL 37.95 548.73
MINNESOTA 33.09 445.03
Dental Flex Ins 2.77 8.34
Med Ins Single 22.44 87.23
TIAA/CREF-amt 37.15 37.16
Disability ins 2.69 8.07
928.71 928.71 202.88 725.83 13144.55 1981.38 11180.17
Pay Rate Current Eamings Current Deductions NET PAY Y.T.D. Earnings Y¥.T.D. Deductions Y.T.D. Net Pay

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SAINT THOMAS ACADEMY Document Page 18 of 21
049 Mendota Heights Road US Bank
Mendota Heights, MN 55120 St. Paul, MN Dale Amount
09/30/2011 3767.27
*AY SEVEN HUNDRED FIFTY SEVEN DOLLARS and 27 CENTS
fo the. Martina M. Kelly
Bank Routing No. Bank Account Number Deposit Amount

der of 3853 Cinnabar Dr.

Eagan, MN 55122 104779962547

091000022

757,27

662 Kelly, M. M. 1292 09/30/2011
Employee No. Department Employee Name Social Security No, Period End
EARNINGS Hes/Units Current Amount Year to Date DEDUCTIONS Current Amount Year to Date
Regular Pay 86.866 928.71 12212.84 | FEDERAL INCOME 57.44 623.70
FEDERAL MEDICAR 13.10 176.34
FEDERAL SOCIAL 37.95 510.78
MINNESOTA 35.08 411.94
Dental Fiex Ins 2.77 - 5,54
Med Ins Single 22.41 44,82
Disability Ins 2.69 §,38
928,71 9238.71 171.44 757.27 12212.84 1778.50 10434.34
Pay Rate Current Eamings Current Deductions NET PAY Y.7T.D, Earnings Y.T.D. Deductions Y.T.D. Net Pay

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SAINT THOMAS ACADEMY
949 Mendota Heights Road
Mendota Helghts, MN 35120

US Bank

PAY SEVEN HUNDRED FIFTY SEVEN DOLLARS and 27 CENTS

Tothe Martina M. Kelly
order of 3853 Cinnabar Dr.
Eagan, MN .§6§122

DIRECT DEPOSIT ADVICE NON-NEGOTIABLE ©

St. Paul, MN Date Amount
08/15/2011 $757.27
Bank Rovting No. Bank Account Number Deposit Amount

091000022

104779962547

757,27

662 Keily, M. M. 1292 09/15/2011
Emnloyee No. Department Eniployce Name Social Security No. Period End
EARNINGS Hes/Units Current Amount Year to Date DEDUCTIONS Current Amount Year to Date
Regular Pay 86.666 928.74 11284.13] FEDERAL INCOME §7.44 566,26
FEDERAL MEDICAR 13.10 163.24
FEDERAL SOCIAL 37,95 472.83
MINNESOTA 35.08 376.86
Dental Flex ins 2.77 2.77
Med Ins Single 22,44 22.41
Disability Ins 2.69 2.69
928.71 928,71 171.44 187,27 41284.13 1607.06 9677.07
Pay Rate Current Eamings Current Deductions NET PAY ¥.T.D. Eamings ¥.T.D, Deductions Y.T.D. Net Pay

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SAINT THOMAS ACADEMY

949 Mendota Heights Road US Bank
Mendota Heights, MN 53120 St Paul, MN Date Amount
08/31/2014 $779.86
PAY SEVEN HUNDRED SEVENTY NINE DOLLARS and 86 CENTS
Tothe Martina M. Kelly
order of 3853 Cinnabar Dr. Bank Routing No. Bank Account Number Depasit Amount
Eagan, MN 56122 091000022 104779982547 779,86
DIRECT DEPOSIT ADVICE NON-NEGOTIABLE
662 Kelly, M. M. F292 08/31/2011 f
Employee No. Departnwat Employee Name Soctat Security No. Period End
EARNINGS Hesf/Units Current Amount Year to Date DEDUCTIONS Current Amourt Year to Date
Regular Pay 86.666 928.71 40355.42 | FEDERAL INCOME 69.95 508.82
FEDERAL MEDICAR 43.47 160.14
FEDERAL SOCIAL 39.01 434,88
MINNESOTA 36.42 341.78
928.71 928.71 148.85 779,86 10355.42 1435.62 8919.86
Pay Rate Current Eamings Current Deductions NET PAY Y.T.D. Earnings ¥.T.D. Deductions Y.T.D. Net Pay

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SAINT THOMAS ACADEMY

949 Mendota Heigits Road US Bank

Mendota Heights, MN 55120 St. Paul, MN Date Amouit
08/15/2011 $779.86

pay SEVEN HUNDRED SEVENTY NINE DOLLARS and 86 CENTS

Martina M. Kelly
]
Jo the (3853 Cinnabar Dr.
Eagan, MN 65122

Bank Routing No. Bank Account Number Deposit Amount
091000022 104779962547 779.86

DIRECT DEPOSIT ADVICE NON-NEGOTIABLE

662 Kelly, M. M. 4292 08/15/2014
Employee No. Department Employee Name Social Security No. Period End
EARNINGS Hrs/Units Current Amount Year to Date DEDUCTIONS | Current Amount | Year to Date
Regular Pay 86.666 928.71 9426.71 | FEDERAL INCOME 59.95 448.87
FEDERAL MEDICAR 13.47 136.67
FEDERAL SOCIAL 39.01 395.87
MINNESOTA 36.42 305.36
I
: 928.71 928.71 | 148.85 779,86 9426.71 | 4286.77 | 8139.94
Pay Rate Current Eamings Current Deductions NET PAY Y.T.D, Earnings Y.T.D,. Deductions ¥.T.D, Net Pay

